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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                           JACKSON DIVISION


UNITED STATES OF AMERICA

VS.                       CRIMINAL CASE NO. 3:12-cr-88-003(DCB)(FKB)

WILLIE EARL CULLEY                                                    DEFENDANT


                                   ORDER

      This cause is before the Court on the defendant Willie Earl

Culley’s Motion for Reconsideration of Sentence pursuant to Section

3553(e) and Section 994(n) under the Fair Sentencing Act (docket

entry 272), and Motion to Reply to the Government’s Response

(docket entries 296 and 297).           Having carefully reviewed the

motions and the Government’s Response, the Court finds as follows:

      On July 9, 2013, the defendant was sentenced to serve 57

months in the custody of the Bureau of Prisons, followed by 4 years

of supervised release. The defendant had previously pleaded guilty

to Count 1 of the indictment that charged conspiracy to possess

with intent to distribute more than 500 grams of a mixture or

substance containing a detectable amount of cocaine hydrochloride.

The conspiracy charge carried a minimum term of imprisonment of not

less than 5 years and a maximum term of imprisonment of not more

than 40 years.

      The   defendant   received   a   sentence     within    the    applicable

guideline range and below the statutory mandatory minimum.                    The

defendant is correct in stating that the Court has discretion in
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which sentence to impose within the lower 25% of the U.S.S.G.

Defendant’s Motion, p. 4.      The Court used its discretion to impose

a sentence at the top of the guideline range, after an analysis of

the factors found in 18 U.S.C. § 3553(a).

     The Court has considered the defendant’s Motion to Reply,

which contains the defendant’s Reply to the Government’s Response,

and finds no reason to depart from the sentence previously imposed.

Therefore, the motion to reply is granted and the motion for

reconsideration shall be denied.

     Accordingly.

     IT IS HEREBY ORDERED that the defendant’s Motion to Reply to

the Government’s Response (docket entries 296 and 297) is granted,

and the motion is construed as the defendant’s reply;

     FURTHER    ORDERED     that     the       defendant’s        Motion    for

Reconsideration of Sentence (docket entry 272) is denied.

     SO ORDERED, this the 13th day of December, 2013.



                                        /s/ David Bramlette
                                        UNITED STATES DISTRICT JUDGE




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